                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )
v.                                          )           No. 3:03-00205-10
                                            )           Judge Echols
KENNETH LAMONT CRUTCHER,                    )
                                            )
              Defendant.                    )

                                           ORDER

       In accordance with the Memorandum entered contemporaneously herewith, the Court rules

as follows:

       (1) the Motion Of The United States For Issuance Of A Preliminary Order Of Forfeiture

(Docket Entry No. 1018) is hereby DENIED;

       (2) the Government’s Motion To Amend The Judgment and Conviction To Include

Forfeiture In Accordance With Federal Rule Of Criminal Procedure Rule 36 (Docket Entry No.

1023) is hereby DENIED;

       (3) Defendant Kenneth Crutcher’s Motion To Strike And Request For Sanctions (Docket

Entry No. 1028) is hereby DENIED; and

       (4) Defendant Kenneth Crutcher’s Motion To Strike (Docket Entry No. 1035) is hereby

DENIED.

       It is so ORDERED.


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                                            ROBERT L. ECHOLS
                                            UNITED STATES DISTRICT JUDGE




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